      Case 2:22-cv-01719-ODW-MAR Document 1 Filed 03/15/22 Page 1 of 23 Page ID #:1
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                                                               1   .. ~~ ~
                                                           ~' '    L'
                                                                                                          1




       Ricky Lee Pinzon
       RDF 1139 Clintwood Ave.
       La Puente, California Republic,
                                                                                      ~;
       91744
       Phone Number (626) 474-4602                                           -
       Pro Per                                                           :~, .. ~
                                                                                 `   _~ - '"
                                                                               -~."~
                                                                              _.

                                                            ~




                        THE UNITED STATES FEDERAL

                                         C~A~~      DIVISION
                             Q~ttil~~-
       Ricky Lee Pinzon,(individual)
                                                   Cade .~;~ ~ ~ ~ ~ ~ ~.
                   PLAINTIFF                      )DEFAMATION, COPYRIGHT, LIBEL,

                                                  )FALSE AND MISLEADING STATEMENTS

       MITCHELL CROOKS                            )DATE: 03-15-2022

                   DEFENDANT                      )TIME:

                                                  )DEPT:    FEDERAL COURT U.S.A.




                                          NOTICE OF SERVICE

            This   is   a   notice   of    the   Process   of      Civil            Service    by   the

       requirement of the Federal Service of Process. You, Mitchell Crooks

       are receiving this notice because I intend to seek relief and or

       injunction against you. I am sending you a request to waive service

       of a summons in this action along with a copy of the complaint, two
i5
       copies of this waiver form, and a prepaid means of returning one
 ,~
       signed copy of the form to me at the address on the top of this

,;     form on page 2 of this documented complaint and notice.




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Case 2:22-cv-01719-ODW-MAR Document 1 Filed 03/15/22 Page 2 of 23 Page ID #:2




    I,                                                  agree    to     save    the

 expense of serving a summons and complaint in this case.




   2 understand    that I,                                                     will

 keep    all   defenses   or    objections   to   the   lawsuit,      the   court's

 jurisdiction, and the venue of the action, but that I waive any

 objections to the absence of a summons or of service.




   I also understand that I,                                                      ,

 must file and serve an answer or a motion under Rule 12 within 60

 days from        March 10, 2022                           the date when this

 request   was   sent (or      90 days if it was sent outside the United

 States). If I,      MITCHELL CROOKS                                              ,

 fail to do so, a default judgment will be entered against me.




 DEFENDANT SIGNATURE:                                     DATE

 ADDRESS

 STREET:                                     CITY:                 STATE:

 ZIP CODE:                        PHONE:

 EMAIL:
Case 2:22-cv-01719-ODW-MAR Document 1 Filed 03/15/22 Page 3 of 23 Page ID #:3




                                         COMPLAINT

 Mitchell Crooks is a resident at 1468 Aztec Way Las Vegas, Nevada

 89119. This brings a diversity of citizenship because the plaintiff

 is a national of California Republic, and Mitchell Crooks resides in

 the State of Nevada.




 I,    Ricky   Pinzon   will   address   myself   as   the   Administrator     of   the

 Trust. Being of sound mind and having attained the age of majority,

 the Administrator has reserved all rights afforded de jure.




 Mitchell Crooks has filed a ~~COUNTER COMPLAINT" against a complaint

 Plaintiff filed with the social media platform "YOUTUBE" on the Sth

 day     of    March     2022,    with      respect     to       video   URL    LINK:

 http://www.youtube.com/watch?v=tp3sNrdvPFA            by    a    channel   with    the

 given name: IN A WORLD OF HURT.




 The channel name IN A WORLD OF HURT is registered to one Mitchell

 Crooks named herein.




 Mitchell Crooks is a resident at 1468 Aztec Way Las Vegas, Nevada

 89119 is the author of the counterclaim YOUTUBE notified Plaintiff

 Ricky Lee Pinzon by email on Mar 9, 2022, 3:22 AM to which MITCHELL
Case 2:22-cv-01719-ODW-MAR Document 1 Filed 03/15/22 Page 4 of 23 Page ID #:4

                                                                                                                        a

 CROOKS   CONSENTS     TO      THE        FEDERAL DISTRICT COURT for the address                                   to

 where the defendant resides, under the LAWS OF PERJURY.




 In addressing the claim The Administrator brings notice to YOUTUBE

 about the channel and the channels conduct. YOUTUBE entirely ignores

 the claim and the defendant was allowed to file a counterclaim to

 the filed complaint by The Administrator.




 The defendant gives the following statement under penalty of perjury

 on 03/08/2022:

            "Ricky Pinzon uses the copyright takedown process to dox and harass

            me. He spreads my phone number online. This is the 8th false copyright

            strike and he's lost the previous 7. He posted my address and phone

            online. My video was a reaction video of another work and is covered

            under fair use. I used a small portion of the original content and I

            paused to comment frequently in a way that transformed the work into

            my   unique     content.        No   reasonable       person    could       watch    my    video    and

            mistake if for the original. I carefully complied with all aspects of

            YouTube    fair        use     guidelines.     Fair     Use    Definition:      Fair       use    is    a

            doctrine in        United       States copyright law           that allows limited use of

            copyrighted        material         without    requiring      permission       from       the    rights

            holders,      such       as    commentary,      criticism,      news       reporting,      research,

            teaching      or       scholarship.       It   provides       for   the     legal,    non-licensed

            citation or incorporation of copyrighted material in another author's

            work   under       a    four-factor       balancing     test.       This    Video:    Is    going      to

            feature    quite        a     few   of   the   things   mentioned          accompanied      with    the
Case 2:22-cv-01719-ODW-MAR Document 1 Filed 03/15/22 Page 5 of 23 Page ID #:5




                  mandatory commentary. Mostly with a pinch of sarcasm and a dash of

                  satire for entertainment value and as written above, it falls under

               "Fair Use"...



                  I swear, under penalty of perjury, that I have a good faith belief the

                  material    was   removed     due     to a mistake or misidentification of the

                  material to be removed or disabled.




                  I consent to the jurisdiction of the Federal District Court for the

                  district in which my address is located, or if my address is outside

                  of   the   United      States,    the    judicial     district      in   which       YouTube   is

                  located,    and     will     accept     service     of    process      from    the    claimant.

                  mitchell    crooks      mitchell      crooks   1468      aztec   way     Las    Vegas,   Nevada

                  89119United Statestimzebra1984@gmail.com(702) 886-1325"




 The video URL LINK above http://www.youtube.com/watch?v=tp3sNrdvPFA

 is hosting, Mitchell Crooks knows the copyrighted material belongs

 to    The   Administrator.              The    video      URL   LINK       to     The     Administrator's

 video is https://www.youtube.com/watch?v=WQ2B6kZbZWk .




 The   video       that      belongs       to   the       YOUTUBE       channel       name       Ricky     Munday

 belongs                            to                        The                           Administrator,

 https://www.youtube.com/watch?v=WQ2B6kZbZWk is found                                       throughout the

 defendant's           YOUTUBE      channel        in   a 'yin      a      world Of hurt" can be

 found       at        http://www.yautube.com/watch?v=tp3sNrdvPFA                                       Mitchell




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Case 2:22-cv-01719-ODW-MAR Document 1 Filed 03/15/22 Page 6 of 23 Page ID #:6


                                                                                                     h

 Crooks claims that ~~no reasonable person could watch my video and

 mistake     for     the    original."     This   claim    does    not     appear    to    be   a

 reasonable or validated claim because of fair use and the copyright

 of   the    video    imaging     itself     because     it is    expressly      reserved       by

 ownership        right     of   the    account   that    uploaded    the    video    to    the

 YOUTUBE server, the account channel is                    ~~RICKY MUNDAY". The videos

 by   default        are     copyright     protected      because     of    a    partnership

 agreement with YOUTUBE to regards of offering copyrighted protection

 extended to YOUTUBE members whose channels are monetized.




 The video in        question is         the exact replicated video, and Mitchell

 Crooks claims he often paused the video to make commentary. This is

 not a      true or    honest statement because the video plays continuous

 portions of my video.




 The claims        the defendant makes in his COUNTERCLAIM to YOUTUBE are

 the very actions of this defendant's conduct. The Administrator has

 never harassed or "doxed" Mitchell Crooks.                      The defendant not only

 repost      my    copyrighted         intellectual    creation      to    his   channel        on

 YOUTUBE but to several other social media accounts like "TWITTER"

 user name ~~TICKTOK" ~~PINTREST" and ~~TUNIBLR" are attached to the same

 email            account         defendant           acknowledges          being          his,

 timzebra1984@gmail.com.
Case 2:22-cv-01719-ODW-MAR Document 1 Filed 03/15/22 Page 7 of 23 Page ID #:7




 Mitchell Crooks has several fake accounts he has created with names

 like:   "TMFZ",    "Zebra   bicycle   frauditing      INC",    "Pathetic       Zebra",

"Mistaken Con Man", "in 3 world of hurt", "Tim Zebra the bicycle

frauditor" "pathetic3" "garth nadar". These are a few of the YOUTUBE

 accounts.




 Mitchell Crooks also has a TWITTER account named ~~i11 a                     world Of

 hurt" another account "garth nadar" whereas in a world of hurt

 publishes his slander and defamation including "snapped picture" of

 still   images    from   Google   Maps   displaying    an     aerial    view    of   my

 mailing location with the name, RICKY PINZON, The Administrator.




 On 02/08/2022 5:00 PM, the defendant Mitchel                Crooks as "Mistaken

 Conman" uploaded or scheduled a premiere for a video titled "DEAF

 MAN CAN'T HEAR LAWS". Then again Mitchell Crooks as Mistaken Conman

 uploaded or scheduled a premiere video for 02/08/2022 4:00 PM by the

 title 'DEAF CA COPBAITER DOES A DUMB". These videos are listed as

 being owned by the email ~.imzebral984@~mail.com, which is the same

 email associated     with defendant Mitchell Crooks and several other

 accounts    on    various   social    media   platforms       that     are    attached

 directly to that email.
Case 2:22-cv-01719-ODW-MAR Document 1 Filed 03/15/22 Page 8 of 23 Page ID #:8


                                                                                                       r,


 The defendant, Mitchell Crooks made a slanderous false statement on

 the   4th     day of January           2022, as    ~~garth nadar" on           TWITTER, to an

official Los Angeles Police Department TWITTER account, "have you

looked into #tomzebra daniel saulmon and his chat followers? Ricky

pinzon? They like to threaten cops on YouTube."




On     the    20th    day    of    August     2020,      the    defendant       Mitchell   Crooks

published another statement on TWITTER from another account he owns

 under the email timzebra1984@gmail.com and user name ~~liar zebra",

published          quote:   "Organized          criminal       gang   leader      #tomzebra      aka

 daniel saulmon and his wigger friend #rickymunday attacks peaceful

police brutality protesters and gets called out. #B1ackLivesMatter

#TransLivesMatter Be Aware of of this #fakeactivist #mistakenbacon

in Los Angeles. #PortlandProtest." End quote.




                                  ELEMENTS OF THE COMPLAINT




Lowery       v.    McBee    -    District       Court    of    Appeal     of    Florida,     Fourth

 District. - June 9, 2021 - 322 So.3d 110 "Libel" is a subcategory of

 defamation,        defined      as    the   unprivileged        written       publication    of a

false        and   defamatory         statement.    2)    A    libelous    statement       may    be

either libel per se               or libel per good; the practical distinction

 between      the    two    is    that    for    libel     per    good,    actual    malice      and
Case 2:22-cv-01719-ODW-MAR Document 1 Filed 03/15/22 Page 9 of 23 Page ID #:9

                                                                                                    (?




 special    damages          must   be   proved.   The   special      damages    are     proven

 within the context because the defendant goes out of his way                                  to

 display    The        Administrators        mailing     location       on    social        media

 platforms "I hope something bad happens to you" according to one

 statement made by the defendant. It is obvious in the defendant's

 statements the intention is to damage The Administrators reputation

 and    place        The   Administrators      safety    in    danger    by     posting      the

location        of     The    Administrator.       Another    obvious        reason    is    the

 defendant is the one who "dox's" the plaintiff to bully and harass

 by making such publications.



 The statements made by the defendant are made in ways that consist

 of    direct    attacks       and   hurtful   messages       sent from       the     defendant

 directly       to    The     Administrator    through       email,    social       networking

 sites, instant messaging, or other forums. These messages might be

 anonymous or sent through fake accounts. They often target Plaintiff

 relentlessly.



 The defendant relentlessly conducted indirect attacks or campaigns

 of widespread messages that hurt The Administrators reputation. The

 defendant Mitchell Crooks created a website or a page on a social

 networking site dedicated               to spreading hateful messages about The
Case 2:22-cv-01719-ODW-MAR Document 1 Filed 03/15/22 Page 10 of 23 Page ID #:10

                                                                                         ir

  Administrator.        These indirect attacks came from the other created

  fake accounts attached to the same emails that are attached to

  timzebra1981@gmailcom,garthnadar@gmail.com,mistakenbreakin2021@gmail

  .com       Mitchell    Crooks    with   the intentions    of wilful    slander   and

  defamation      of     the    Plaintiff's    character.    Mitchell    Crooks    the

  defendant,      with    his   repetition    of    publications   of   insults,   and

  publishing the Plaintiffs mailing address was deliberately intended

  to frighten, embarrass, or otherwise harass the Plaintiff by design,

  directly and indirectly, this is a cyberbully.




  The      cyberbully    can   use instant messenger, e-mail, websites, diary

  sites, online profiles, interactive games, tablets, and cell phones

  to assault his or her victim. This includes directly or indirectly

  discriminating against a disability of another. In the case of The

  Administrator is hard of hearing and wears a hearing aid, and has

  been declared by the Social Security Administration as Permanently

  Disabled.     The     Comments   made by    the   defendant Mitchell    Crooks   did

 imply knowledge of my disability that is found under the Americans

  With Disabilities Act. The defendant directly implies discrimination

 in videos making fun of The Administrators disability.




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Case 2:22-cv-01719-ODW-MAR Document 1 Filed 03/15/22 Page 11 of 23 Page ID #:11


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  When    the defendant created            the published post on the Internet by

  Mitchel Crooks on the 4th day of January 2022, as "garth_nadar" on

  TWITTER,     to   an     official       Los   Angeles     Police    Department        TWITTER

  account, "have you looked into #tomzebra daniel saulmon and his chat

  followers? Ricky pinzon? They like to threaten cops on YouTube." As

  relative    to    cyberharassment may          be   described in         that publication

  seemed as less serious than cyberstalking, the outcome of such claim

  to   Los   Angeles     Police   Department could           have    resulted     in    serious

  consequences for The Administrator.




  In 2011 Lewis v. Kei, 281 Va. 715, 708 S.E.2d 884.

  Police     officer     obtained     a    warrant    for    arrest       of   plaintiff    for

  attempted abduction of a 10-year-old child based upon Citizen'S

  complaint which ultimately proved to be unfounded. eased on

  those    facts,    the    officer       had   probable    cause    to    seek   the   arrest

  warrant, and therefore demurrer to malicious prosecution claim was

  properly granted.         Likewise, the finding of probable cause defeats

  the claim for false imprisonment. The police officer, however, did

  make several false statements about the plaintiff relating to the

  facts of the matter          thereby accusing           him   of the commission          of a

  criminal offense constituting defamation per se. The defendant did

  in fact make such statements consistent with the above cite to law

  enforcement directly.




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Case 2:22-cv-01719-ODW-MAR Document 1 Filed 03/15/22 Page 12 of 23 Page ID #:12


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  One unique form of cyberharassment, known as "swatting," deceives

  emergency       responders    into     dispatching         a   Special     Weapons

  and   Tactics     (SWAT)     team   to the location of the                 victim.

  While some might consider this merely a prank, swatting is actually

  extremely   dangerous,     terrorizing    the    victim    and placing both    the

  victim    and    law    enforcement      at     risk.     Laura-Kate   Bernstein,

  Investigating     and    Prosecuting     Swatting       Crimes,   UNITED    STATES

  ATTORNEYS' BULLETIN (May 2016).




  This was an indirect swatting attack by the defendant by making such

  a claim to the Los Angeles Police Department. Thankfully Los Angeles

  Police were able to reason with the credibility of such claims.




  In other statements made by the defendant, Mitchell Crooks published

  comments and     remarks   claiming The Administrator Ricky Pinzon, and

  Daniel Saulmon, aka Tom Zebra, are "INFLUENCERS OF MASS SHOOTINGS"

 "HIS GANG BUDDY RICKY PINZON PLANS ON AMBUSHING COPS"               and created a

  false report to YOUTUBE claiming The Administrator is making threats

  to shoot cops. Here again, it is presumed his intentions were to

  entice or excite law       enforcement to act on his tips. In Huff v.

  Jennings 459 S.E.2d 886 (1995) (1) the publication of (2) a false

  statement (3) derogatory to plaintiff's title (4) with malice (5)




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Case 2:22-cv-01719-ODW-MAR Document 1 Filed 03/15/22 Page 13 of 23 Page ID #:13


                                                                                                                  1'.


  causing special damages (6) as a result of diminished value in the

  eyes of third parties.




  The defendant is directly and indirectly by wilful intent is using

  another      form     of    cyber      harassment by             ~~doxing," The Administrator.

  Mitchell       Crooks       is    directly           broadcasting         personal,         identifiable

  information about The Administrator on the Internet. It can expose

  The Administrator to an anonymous mob of attackers or wanted calls

  to     The   Administrators            phone,        sending      them    emails       or    giving      out

  personal       details          with    the     purpose          of   deliberately          placing      The

  Administrators life in danger.




  The    claims       the    defendant          makes       are    repugnant      and    repulsive.        The

  defendant Mitchell Crooks is savory and manipulative when it comes to

  social       media.       The    defendant       seeks          out other       people      to    host the

  replicated copyrighted work on another hosting channel. In one video

  in particular the defendant makes a claim The Administrator is in

  Colorado       to     break      a     prison     inmate,         Erik    Brant       out    of    prison.

  Mistaken Conman, to Art's Corporate Fiction.




  The defendant outright admits                        to    having several accounts                 that he

  uses    to    harass       and       ~~dox"    The    Administrator         by    placing         my   phone

  number       online,       receiving          spamming      emails       from    pornography           sites,




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Case 2:22-cv-01719-ODW-MAR Document 1 Filed 03/15/22 Page 14 of 23 Page ID #:14

                                                                                                 19

  spamming      phone    calls     from    unwanted    telemarketers.      Even   posting a

  picture of The Administrators place of inhabiting presence.




  The defendant claims he has made such counterclaims to my copyright

  notices filed as complaints with YOUTUBE in the acclaimed statement

  of Good Faith Doctrine. It would not be a fair assessment of another

  given    the direct involvement on               repeated attacks on        the Internet

  with the intention to cause direct or indirect consequence to The

  Administrator         unjustly    by    making    claims   to    law    enforcement    that

  would likely provoke a response from law enforcement placing their

  lives, and the lives of those around me, and my life as well.




  Libel and Slander Distinguished. Libel includes the more permanent

  forms    of    defamatory        matter;    in    California,      it    consists     of   a

  "writing, printing, picture, effigy, or other fixed representation

  to the eye." (Civ. Code ~ 45.) Slander is the more transitory form,

  generally restricted to oral statements and gestures. (See Civ. Code

  § 46.)




  There have been 8 total filed complaints against the defendant with

  YOUTUBE.      Each    complaint     is    followed    by   a    counter-complaint      that

  states that the video will be reinstated unless proof of a lawsuit

  has been filed by the original complainant and submitted to YOUTUBE




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Case 2:22-cv-01719-ODW-MAR Document 1 Filed 03/15/22 Page 15 of 23 Page ID #:15


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  within ten days of the notice. This policy that is in place allows

  for   the misconduct by individuals like Mitchell            Crooks    to escape

  consequence and enable the defendant to continue the aggressive and

  malicious     attacks   against    the    Administrator.    YouTube    possesses

  software technology to identify algorithms of picture and audio and

  well has     the   technological means and tools to identify the video

  that is uploaded to compare such video publications for identities

  and source and source or recording and download.




  To satisfy the requirements of the takedown and removal requirements

  set by YOUTUBE POLICY, this lawsuit has been filed or will be filed

  if you fail to waive the process of summons to this complaint as

  required by Rule 4(d) and return a copy of this waiver back to the

  plaintiff.




  If you, Mitchell Crooks fail to return this notice with a waiver of

  summons to me I will file it in the proper jurisdiction and will not

  ask that you be served. Special prejudged stipulations will be found

  favorable to the judicial court with proper jurisdiction.




  The   Administrator     intends   to   seek   monetary   relief in    the sum of

  $75,000 and a court lien on any property or real property owned by

  the defendant, or in the future comes into possession a garnishment




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Case 2:22-cv-01719-ODW-MAR Document 1 Filed 03/15/22 Page 16 of 23 Page ID #:16


                                                                                                    i ~,

  should     the      defendant    Mitchell       Crooks     not    have    the      equity    or

  collateral to cover the claims.




  Further,      it    is   demanded     that     the   defendant      remove   any     and    all

  content associated with all social media platforms attached to the

  name Mitchell Crooks or any other direct IP address connected to the

  defendant.




  Should the defendant continues to violate copyright requirements set

  by    Title    17   further     actions       will   be   sought,      including     criminal

  prosecution.




  The           defendant's             video          at          the         URL           LINK

  http:/lwww.youtube.com/watch?v=tp3sNrdvPFA                  does    not fall       under    the

  fair    use   act because       the    duration of the uploaded original video

  content by Plaintiff was monetized for trade on the YOUTUBE platform

  where    advertisements       are     displayed for       tender    of   payments     to    the

  plaintiff. The video itself has since the day of its creation has

  been placed "unlisted" and is only available for authorized viewing

  by the plaintiff giving exclusive permission by sending a video URL

  LINK to another for permission to view.




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Case 2:22-cv-01719-ODW-MAR Document 1 Filed 03/15/22 Page 17 of 23 Page ID #:17


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  The defendant's video does not comply with the fair use act because

  it does not alter the fact that all the works of the video are in

  fact        the    work   of     the   Plaintiff    and    as   the    creator   of     such

  exclusively owned images and video, The Administrator reserves the

  right to          remove any     unauthorized      reproduction   of    such   images    and

  sound. The plaintiff mixed and matched other videos that are also

  owned by Daniel Saulmon to which express co-ownership is granted to

  The    Administrator        by    authorization     were   integrated into       the    same

  video URL LINK:           httg://www.youtube.com/watch?v=tp3sNrdvPFA .




  By a declaration under the penalty of perjury of the laws of the

  United States of America, I The Administrator affirms all here in

  declared are true and correct.




  There are 10 attachments that are to be included as evidence of such

  statements made by the defendant.




  Ricky Lee Pinzon:                       e~                  b c~f ~~j / ZO2"Z—

  Date: March 10, 2022

      RDF 1139 Clintwood Ave

      La Puente, California Republic

      91477




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2:33 AMCase 2:22-cv-01719-ODW-MAR
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                                                                                       n 27% lf~~
                                             twitter.com

               ~      garth_nader
                      3,224 Tweet:                                                           •'


                      LAPD HQ i~ @LAPDHQ ~ Jan 11
              ~"~~=~~ Today we grieve the loss of a young officer who was murdered while off
                      d uty. As we mourn his tragic loss, we ask that you keep his family and
                      partners in your thoughts and prayers.



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                      Q 216               "C~, 429               ~ 2K


                      garth_nader ,~garth__nader • Jan 12
                      Have you looked into ``omzebr~: daniel saulmon and his chat followers?
                      Ricky pinzon? They like to threaten cops on YouTube.

                                          Ly                    d                  ~.

                      garth_nader ,a~garth_nader ~ Jan 11                                  •••
                      #StopAsianHateCrimes ~ #StopAAPlHate~ #StopAsianHate ~
                      #asianlivesmatter is #tomzebra aka #danielsaulmon & #rickypinzon aka
                      #rickymonday
241 AM Sun Jan 16                                                         ..,                                                                         ^~ 27% ~~
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                                                               twitter.com +~

                    ~     in a world of hurt                                                                                                         ..
                          25 Tweets




                          Q     ~                          ~~.                                             d 2                                 u


                          in a world of hurt @Inaworldofhurt0 • 10h
                          Hey, #rickypinzon, I hope @Inglewood _PD doesn't find all those death
      0                   threats you made from your alt accounts on that ipotato you have.
                          Hopefully the judge keeps you deadbeat dad in there so you can be the
                          jailhouse sovcit lawyer you always wanted to be ~i tee, ;,
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                            Booking No.: 6291084        Last Name: PINION                  First Name. RICKY                Middle Name: LEE
                           Sex: M      Race: W      Date Of Birth: 1 212711981     Age: 40                        Hair' BRO     Eyes: BRO
                                                             Height: 506       Weight: 190

                                                                          Charge Level


                            Artest Date: 0111 512022     Ar►est Time: 02d2 Arrest Agency: 1933                             Agency Description:
                                                                   INGLEWOOD PD
                              Dale Booked: 01!15/2022         Time Booked: 0337    Booking Location: 1933                          Location
                                                             Description_ PD - INGLEW000__
      O

                                      Total Bail Amount: 0       Total Hold Bail Amount: O.OQ                      Grand Total: 0.00

                                                                      •               •          •
      +
      `                                                           Housing Location: 1933
                                    Permanent Housing Assigned Date: 01/1512022                            Assigned Time: 0337
                                                                 Facility: INGLEWOOD PD
                                                                     Address:    City:
                                                                            ~A~vk~~N
                                For County lacility visiting hours. Pfease cal! (~)~73.61QQ at Inmate In/ormatlon Center.

                                                                                 •
                           Next Court Code: ING        Next Court Date: 01118/2022  Next Court Time: 0830                              Next Court
                                                                   Case: 9999999999
                                                 Court Name INGLEWOOD MUNICIPAL COURT
                                      Court Address: ONE REGENT STREET  Court G~ty: INGLEWOODUPT

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                          ~                               ~C~.                                             d ~                                 ,T~

                          garth_nader ~garth_nader • 20h                                                                                                  •••
                    ~~~   #rickypinzon arrested


      ~_ J
        J
2:46 AMCase  2:22-cv-01719-ODW-MAR
        Sun Jan 16                        Document 1
                                                   v ~ e Filed 03/15/22 Page 20 of 23 Page ID
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                                                                                              ~ 27% of
                                                  twitter.com r

               ~          in a world of hurt
                          25 Tweets                                                              ~ ~




                          Q    ~               2~                  ~ 3                   u


      Q        ~    R[h

                     ~~
                           •~~liar~~~lzebra @LiarZebra •Jan 11                                    •••
               e►         And by same 24 I mean, 24 losers who hate free speech, any criticism, any
                          debate. Bunch of fake news report thugs. iPhone journalists who think they
                          have the scoop but, fail constantly to provide checks and balances. What a
                          fuckingjoke these clowns are.




                    .,    in a world of hurt @~naworldofhurt0 •Jan 11                                 •••
                          Try getting front page news in Vietnam. Try getting reruns on rabbit ear HD
                          tv checks first. These sovcit clowns are reeking of jealousy. Trying to leech
                          off something they had nothing to do with. For clout. #pathetic3
      0




      +
      `




                          ~~                  L~.                  r~
                                                                   r                      TJ


                          in a world of hurt @Inaworldofhurt0 ~ Jan 11
                          Ricky's Loveland Colorado Meltdown (Edit) youtu.be/EkIIyMPgKKC; via
                                      coward files a false copyright on ~ULovelandPolice bodycam
                          footage of the ~`_>ovt~rcl ?~trauditor #rickypinzon arrest. #FAIL I don't watch
                          your shit vids. They are sent to me. #copbaitingcoward
845 PM   Mon Feb 21                                                                                       75% ~
     Case 2:22-cv-01719-ODW-MAR Document  1 Filed 03/15/22 Page 21 of 23 Page ID #:21
                                     ~ twitter.com

                      ~   garth_nader                                                        Follow
                          3,316 Tweel,



                          Show this thread


                          garth_nader @garth_nader •Feb 19
                          #tomzebra is a Paranoid Cocaine addict who lies constantly. He also
                          threatened to kil l 25, 30 cops. @Inglewood_PD need to pat Daniel saulmon
                          down for weapons. He's a special kind of #copbaiting COKE HEAD.


                                               youtube.com
                                               zebra lies about Inglewood police again
                                               #tomzebra2022 #sovcit
                                               #inglewoodpolicedepartmentSocials:https://twitt...


                                             L~. 2                 d 4

                          garth_nader ~~garth_nader ~ Feb 18
                          nTeamYo~.iT~ihA not only did he lose, he used my co~mter notification info to
                          doxx me, harass my landlords, my employer and spent a month slandering
                          and defaming me. And you did absolutely nothing to this #copbaiting
                          YouTube channel #rickymunda~~ ?

                          Q                   ~~.                 d ~                   u

                          Show this thread


                          garth_nader @garth_nader •Feb 18
                             _ ~mYouTube @YouTubeCreators #keep~~~utubeaccountab~~ so, I got 7
                          false copyright strikes from #rickypinzon aka #rickymunday and he lost all
                          seven. Why (as your policy states) is he not striked 7 times &his bullying
                          and harassment channel terminated?

                                Keeping It Criminal @KIC_YT •Aug 4, 2021
                            Replying to C~RagicalTweets @YouTube and 2 others
                            #PermissionToDance #Shorts What do you think @YouTube and
                            @YouTubeCreators ?
8.49 PMCase 2:22-cv-01719-ODW-MAR
        Mon Feb 21                   Document 1 Filed 03/15/22 Page 22 of 23 Page ID ^
                                                                                     #:22
                                                                                        75% ~
                                           ~ twitter.com

               ~     garth_nader
                       316 Tweets                                                       ~ ~



      Q               garth_nader @garth_nader ~ Feb 10
                      Replying to @LACoSheriff @NFL and 3 others
      ~              #tomzebra aka daniel saulmon has said he wants to shoot 25, 30 cops and
      2
      ; s            he said on YouTube Alex should be hung from a bridge. His gang buddy
                     Ricky pinzon plans on ambushing Leo as well.




                      Q                  ~~                  d   ~               u


                      garth_nader ~=~garth_nader ~ Feb 10                                    •••
                      I nferiority Complex ~outu.be/JhWIWwHmML ^ via ~~YouTub~> talking about
                      YOU #tomzeb the bitch midget bicycle sovtard. Narcissistic loser with an
                      ego. Get a job loser! Compulsive Liar daniel saulmon.
Case 2:22-cv-01719-ODW-MAR Document 1 Filed 03/15/22 Page 23 of 23 Page ID #:23
              11:25'9                                           .~   LTE ■


                 ~                     garth Hader              Q       ...
                                          2,712 Likes


            s          Tweets & repli~~-~               Media        Likes
                      ---~$~v~~vv~f~~ have a meltdown
                               over who is the worst
                               #copwatch~~ ever. I'm going
                               with #tomzebr~. the house
                               burglar. youtu.be/
                               A~g1C_vHeJg S''


                               Show this thread

                in a !~I~RLU
                               in a world of hurt «Ina... • 1d •••
                e F HURY
                               Replying to @garth_nader
                               Oh wow is relk one violating
                               the restraining order against
                               Ricky pinzon or, against his
                               baby mamma's again? This is
                               great! Add it to the rest!
                               #fiarl~ Facebook doc
                               Q                u2      ~,

                                 liar zebra ~LiarZe... • 1d ••~
                               Re~alyin~ to @garth_nader
                               free publicity from the
                               deadbeat dads meth dealer .

                 ~                 Q         o°           ~           8
